   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 1 of 15



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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA




UNITED STATES OF AMERICA,                   )   No.: (.o4~t~{l4O~9
                                                Crirn. Case No.: \~I-CIt’    po323-WSD1~
                     Respondent,

            vs.                             )   MEMORANDUM IN SUPPORT OF
                                                MOTION TO VACATE, SET ASIDE
E$war4      ~&%Y%1                      ,   )   OR CORRECT A SENTENCE, UNDER
                                                28 U.S.C. § 2255
           Movant/Petitioner.



                                   MEMORANDUM

     COMES NOW pro se Movant/Petitioner, and submits this

Memorandum In Support Of His Motion To Vacate, Set Aside Or

Correct A Sentence, Under 28 U.S.C. § 2255.
     This Memorandum in support of the motion is based upon

all the files acid records of the above—captioned matter, as

well as,   the argument, points and authorities herein.

     The Movant/Petitioner believes that he has no Other readily

available or ádecjuate remedy at law.




MEMORANDUM IN SUPPORT      -   Page i
      Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 2 of 15




I.    STATEMENT OF FACTS

           The movant plead guilty to one count of violating 18         U.s.c.
§ 1951 (Hobbs Act) by robbing the Bejewel Jewelry store; and
one count of violating 18         u.s.c. §    1951 by robbing the Rite

Aid Pharmacy.         The movant also plead to one countof violating
18    u.s.c. §    2119 (Motor Vehicle Theft     -   Carjacking); and one

count of Using A Firearm in connection with a crime of violence
in violation of 18       u.s.c. §   924(c).    Movant received a total

sentence of 259 months at the time of sentencing.                At the time
of sentencing, the Hobbs Act/Motor Vehicle Theft             —   carjacking

violations were used as the crimes of violence in support of

the    §    924(c) conviction and sentencing.

II.        The Hobbs Act Robbery And Motor Vehicle Theft
           Carjacking Are Not Crimes Of Violence And Therefore
           The Movant’s Conviction Under § 924(c) Is Invalid

           Title 18 u.s.c. § 1951 (A) (Hobbs Act) states:
           “Whoever in any way or degree obstructs or affects
           commerce or the movement of any article or commodity
           in commerce by robbery or extortion or attempts or
           conspires to do so or commits or threatens physical
           violence to any person or property in furtherance
           of a plan or purpose to do anything in violation of
           this section shall be fined under this title or
           imprisoned not more than twenty years or both.”

           Title 18 u.s.c. § 2119 (Motor Vehicle Theft—carjacking)            states:
           “Whoever with the intent to cause death or serious
           bodily harm, takes a motor vehicle that has been
           transported, shipped or received in interstate or
           foreign cbmmerce from the person or presence of
           another by force and violence or by intimidation
           or attempts to do sb shall be fined under this title
           or imprisoned not more than 1 5 years.”




MEMORANDUM IN SUPPORT        -   Page 1
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 3 of 15




     Title 18 U.s.c. § 924(c)(3) defines “crime of violence”
as an offense that is a felony arid:

     “(A) has as an element the use, attempted use, or
     threatened use of physical force against the person
     or property of another or (B) that by its nature,
     involves a substantial risk that physical force
     against the person or property of another may be
     used the course of committing the offense.”
     Title 18 U.s.c. § 924(c)(3)       —   In the context of § 924(c)
clause (A) is referred to a the force clause,          clause (B) is
referred to as the residual clause.         The Hobbs Act and Motor
Vehicle Theft   -   carjacking must fall within the definition of

either clause for there to be a valid conviction under § 924(c).
     A.   The § 924(c) Force Clause

           1.   Robbery Under § 2119 Motor Vehicle Theft
                carjacking can Be committed Without The
                Use Of Physical Force. Robbery Under
                § 1951 Can Be committed Without The Use
                Of Violent Physical Force, And Does Not
                Fall Under The Force clause

     To qualify as a crime of violence under § 924(c)(3)(A)
force clause, the offense must have an element of physical

violent force. Johnson v. United states, 559 U.s. 133, 140 (2010).

A Hobbs Act robbery and motor vehicle theft-carjacking does
not satisfy the requirements under the force clause of § 924(c)
because the robbery can be accomplished by putting someone in
fear of future injury to his person or property, and does not

require the use, attempted use, or threatened use of violent

force.




MEMORANDUM IN SUPPORT     -   Page 2
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 4 of 15




               2.   Robbery Under § 1951(b) Also Motor
                    Vehicle Theft—Carjacking Under § 2119(1)
                    Can Be Committed Without The Attempted
                    Use, Or Threatened Use Of Violent Force
                    And Therefore Does Not Fall Under The
                    Definition Of The Force Clause

        Section 1951 arid Section 2119 states that the offense can

be accomplished by placing another “in fear of injury” or

“intimidation,” which is fear.          These methods of accomplishing

the commission of crime under §~ 1951 and 2119 does not require

the use of “violent force.”          The Fourth Circuit’s decision in

United States v. Torres-Miguel,         701 F.3d 165 (4th Cir. 2012)

is directly on point.          The Fourth Circuit unequivocally held

that the threat of any physical injury, even “serious bodily

injury or death” does not necessarily require the use of physical

force    -   let alone violent force. Id.

        The issue in Torres-Miguel was the defendant’s prior

conviction for the California offense of willfully threatening

to commit a crime which “will result in death or great bodily

injury to another.” Id. at 168.         The specific question was

whether the statute had an element equating to a threat of

“violent force” under the force clause. Id.

        Despite the “death or great bodily injury” element in the

California statute,       the Fourth Circuit found that the offense

was missing a “violent force” element, and thus could never

qualify as a crime of violence under the force clause, Id. at




MEMORANDUM IN SUPPORT      -   Page 3
    Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 5 of 15




 168—69.     The Court held that “[am        offense   that results in

 physical injury, but does not involve the use or threatened

use of fOrce, simply does not meet the Guidelines definition

of crime of violence.” Id. at 168.            The Court stated that “of

course, a crime may result in death or serious injury without

involving use of physical force.” Id.

      The Court reasoned that there are many ways in which

physical injury, even death, can result without use of violent

force.     Id. at 168—69.       “For example, as the Fifth Circuit has

noted, a defendant can violate statutes like           §   422(a) by

threatening to poison another, which involves no use or

threatened use of force.” Id.

     In reaching its decision,           the Fourth Circuit also relied

on the Second Circuit’s decision in Chrzanoski             V.   Ashcroft,

327 F.3d 188,     194 (2d Cir.     2003).   At issue was whether a prior

Conecticut conviction for assault qualified as a crime of

violence under the force clause.            The Connecticut statute

required the state to prove that the defendant had intentionally

caused physical injury. Chrzanoski, 327 F.3d at 193.                The Second

Circuit held that the statute did not constitute a crime of

violence “because there is a difference between causation of

an injury, which is all that Connecticut statute required, and




MEMORANDUM IN SUPPORT       -   Page 4
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 6 of 15




an injury’s causation by the use of physical force.” Torres—

Miguel,   701 F.3d at 169 (citing Chrzanoski,     327 F.3d at 194).

     The Second Circuit explained that an individual could be

convicted of intentional assault for injury caused not by

physical force, but by guile, deception, or even deliberate

omission. Chrzanoski, 327 F.3d at 195.        The Court elaborated

that “human experience suggests numerous examples of

intentionally causing physical injury without the use of force,

such as a doctor who deliberately withholds vital medicine from

a sick patient” or someone who causes physical impairment by

placing a tranquilizer in the victim’s drink.       Id. at 195—96.

     The Fourth Circuit relied on the Tenth Circuit’s decision

in United States v. Perez-Vargas,     414 F.3d 1282,   1287 (10th

Cir. 2005).   In that case, the Tenth Circuit explained that

although Colorado’s assault statute required an act causing

bodily inj ury by means of a dangerous weapon, imposing that

injury does not necessarily include the use or threatened use

of physical force as required by the Guidelines.        As a result,

the Colorado crime was not categorically a crime of violence

under U.S.S.G.   §   2L1.2. Torres-Miguel,   701 F.3d at 169   (citing

Perez-vargas,    414 F.3d at 1287).   The Tenth Circuit noted that

several examples esist of assault that would not use or threaten

use of physical force such as “intentionally placing a barrier




MEMORANDUM IN SUPPORT    -   Page 5
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 7 of 15




 in front of a car causing an accident, or intentionally exposing

 someone to hazardous chemicals.” Perez—Vargas,        414 F.3d at 1286.

      The Fourth Circuit’s analysis and decision in Torres-Miguel

 applies to the elements of robbery under the Hobbs Act: putting

 another in fear of physical injury does not require violent

 force.   If threats of serious bodily injury or death does not

 equal violent force,      then certainly threats of “physical injury”

 does not.    As noted, a defendant can place another in fear of

 injury by threatening to poison that person,        to expose that

 person to hazardous chemicals, to place a barrier in front of

 the person’s car, to lock the person up in the car on a hot

day, and to lock that person at an abandoned site without food

or shelter    -   examples that the Fourth Circuit mentioned in

Torres -Miguel.

      Because the full range of conduct covered by the Hobbs

act robbery statute, and the motor vehicle—carjacking statute

does not require violent force,         it does not qualify as a crime

of violence under     §   924(c)(3)(A)’s force blause.

             3.   Putting Another In Fear Of Injury Does
                  Not Require An Intentional Threat Of
                  Violent Force Under The Force Clause

     The act of putting someone in fear of injury, as defined

under the Hobbs Act robbery statute, and the motor vehicle theft

carjacking statute, does not constitute a crime of violence

under the force clause because it does not require and

intentional threat of physical force. In Garcia v. Gonzales,



MEMORANDUM IN SUPPORT      -   Page 6
    Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 8 of 15




 455 F.3d 465,    468 (4th Cir.     2006),   the Fourth Circuit held that

 an offense can only constitute a crime of violence under the

 force clause if it has an element that requires an “intentional”

 employment of physical force or threat of physical force. id

 The fear of injury element under the Hobbs Act robbery and motor

vheicle theft—carjacking statutes do not require a ~efendant

to intentionally place another in fear of injury.              Therefore,

it is missing the intentional mens rea necessary required by

the Fourth Circuit in Garcia.

     A Hobbs Act robbery and motor vehicle theft-carjacking

can also be accomplished by placing someone in fear of injury

to his property.     Violent force against property under         §   924(c)

(3)(A) however,    can be accomplished short of strong physical

force.   Threatening to throw paint on someone’s house or car,

or even to spill water on important documents can be accomplished

without the requisite violent force that is a necessary element

of the predicate offense for purpose of          §   924(c).

     Cases interpreting the “intimidation” element in the federal

bank robbery statute are instructive because “intimidation”

means placing someone in fear of bodily harm. This is the same

element as in the Hobbs Act robbery statute. SEE United States

v. Woodrop,   86 F.3d 359,    364   (4th Cir.   7996)(”intimidation”

under federal bank robbery statute means an ordinary person




MEMORANDUM IN SUPPORT    -   Page 7
    Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 9 of 15




 reasonably could infer a threat of bodily harm from the

 defendant’s acts); United States v. Yockel,        320 F.3d 818, 821

 (8th Cir. 2003)(upholding bank robbery conviction even though

 there was no evidence that defendant intended to put teller

 in fear of injury: defendant did not make any sort of physical

 movement toward the teller and never presented her with a note

 demanding money, never displayed a weapon of any sort, never

 claimed to have a weapon, and by all accounts,        did not appear

 to possess a weapon).

      It is enough that the victim reasonably fears injury from

the defendant’s actions       —   whether or not the defendant actually

intended to create that fear.          Due to the lack of this intent,

federal bank robbery criminalizes conduct that does not require

an intentional threat of physical force.         Bank robbery fails

to qualify as a crime of violence under Garcia.          Because the

federal bank robbery “intimidation” element is defined the same

as the Hobbs Act robbery “fear of injury” element,         it also fails

to qualify as a crime of violence under Garcia.

     B.     The 924(c) Residual Clause

             1.    The Residual Clause Must Be Analyzed According
                   To The Supreme Court’s Decision In Johnson

     The Supreme Court’s holding in Johnson v. United States,

135 S,Ct.   2551    (2015), analyzing the Armed Career Criminal Act’s




MEMORANDUM IN SUPPORT     -   Page 8
  Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 10 of 15




residual clause applies as w~ll to the parallel crime of violence

definition in   §   924(c)(3)’s residual clause.     The ACCA residual

clause was unconstitutionally vague because the process by which

courts categorize prior convictions as violent felonies is too

“wide-ranging” and “indeterminate.” Johnson,        135 S.Ct. at 2557.

As a result, the ACCA “both denies fair notice to defendants

and invites arbitrary enforcement by judges.” Id.

     The Court found that the residual clause “requires a court

to picture the kind of conduct that the crime involves          ‘in the

ordinary case,’and to judge whether that abstraction presents

a serious risk of potential injury.” Id.         This process   —   of

determining what is embodied in the “ordinary case” rather than

“real—world facts,” is fatally flawed.         “Grave uncertainty”

surrounds the method of determining the risk posed by the

“judicially imagined ‘ordinary case..’” Id.       135 S.Ct. 2557.

“The residual. clause offers no reliable way to choose between

....competing accounts of what        ‘ordinary’....involves.” Id.

at 2558.

     Although earlier ACCA cases tried to rely on statistical

analysis and “common sense,” the Court concluded that these

methods “failed to establish any generally applicable test that

prevents the risk comparison required by the residual clause

from devolving into guesswork and intuition.” Id. at 2559.




MEMORANDUM IN SUPPORT    -   Page 9
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 11 of 15




          This flaw alone established the residual clause’s

 unconstitutional vagueness.       The Court explained that a closely

 related flaw exacerbates the problem.       The Supreme Court noted

 that the residual clause lacks a meaningful gauge for determining

 when the quantum of risk under the “ordinary case” of a

 particular statute is enough to constitute a “serious potential

 risk of physical injury.” Id. at 2558.       Although the level of

 risk required under the residual clause must be similar to the

 enumerated offenses (burglary, arson, extortion, or crimes

 involving use of explosives), Johnson rejected the notion that

 comparing a felony’s “ordinary case” to the risk posed by certain

 enumerated offenses cures the constitutional problem. Id.

      The enumerated offenses failed to save the ACCA residual

 clause because comparing felonies to enumerated offenses

 similarly requires resorting to “a judicially imagined

 abstraction.” Id.     Before courts may even start the comparison,

 they must first determine what the “ordinary” enumerated crime

 entails.     But the “ordinary” enumerated crimes,    like any other

 crime,    “are far from clear in respect to the degree of risk

each poses.” Id.      Any attempt to figure out the “ordinary”

enumerated offense requires just as much guesswork as figuring

out the “ordinary” predicate offense.       The Court held that such

indeterminacy,     unpredictability, and arbitrariness inherent




MEMORANDUM IN SUPPORT    -   Page 10
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 12 of 15




 in the “ordinary case” analysis is more than the “Due Process
 Clause tolerates.” Id.

          Thus,    the Supreme Court in Johnson not only invalidated

 the ACCA residual clause, but it invalidated the “ordinary case”

analysis.          The “ordinary case” analysis is impossible to apply

to a constitutional manner.

                  2.   The Residual Clause In § 924(c)(3)(B) Is
                       Essentially The Same As The ACCA Residual
                       Clause

      Courts regularly compare the residual clause of                       §   924(c)

to other statutes.              In United States    V.       Ayala,   601 F.3d 256,

267 (4th Cir.          2010),   the Fourth Circuit relied on an ACCA case

to interpret the definition of a crime of violence under                         §   924(c)

(3) (B)

      The phrase at issue in the ACCA residual clause is not

identical to the phrase in              §   924(c)(3)(B).        The ACCA residual

clause defines a violent felony as an offense that “otherwise

involves conduct that presents a serious potential risk of

physical injury to another.” 18 U.S.C.                   §   924(e)(2)(B)(ii).

Section 924(~)(3)(B) defines a crime of violence as one that

“by its nature,         involves a substantial risk that physical force

against the person or property of another may be used in the

course of committing the offense.’~




MEMORANDUM IN SUPPORT            -   Page 11
   Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 13 of 15




         The differences, however, have no impact on the

 constitutional analysis, which must be the same.            Although the

 risk at issue in the ACCA is a risk of injury, and the risk

 at issue in the       §   924(c) is a risk that force will be used,

 this difference is immaterial to the due process analysis under

 the Johnson decision.

         The Court’s holding inJohnson did not turn on the type

 of risk, but rather on how a court assesses and quantifies the

 risk.     That inquiry is the same under both the ACCA and        §   924(c).

 Both statutes require courts first to picture the “ordinary

 case” embodied by a felony, and then decide if it qualifies
as a crime of violence by assessing the risk posed by the
 “ordinary case.”          Both reqi4ire courts to discern what the

ordinary case of a crime is by examining the elements using

a categorical approach. United States v. Acosta, 470 F.3d 132,

 134    (2d Cir. 2006); United States v. Butler,        496 Fed. Appx.

 158,    161 n.4   (3d Cir. 2012); Evans v.    zych,   644 F.3d 447,   453

 (6th Cir.    2011); United States v. Serafin, 562 F.3d 1104,          1108

 (10th Cir. 2009j; United States v. Green,         521 F.3d 929,   932

 (8th Cir.    2008); United States v. Amparo,      68 F.3d 1222,   1225

 (9th Cir.    1995).




MEMORANDUM IN SUPPORT         -   Page 12
  Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 14 of 15




 Courts may not consider the factual means of committing any

 given offense, but must consider the nature of the offense in

 the “ordinary case,” regardless of whether the ACCA,                §   924(c)

 (3)(B),   or   §   16(b) is at issue.

      The Fourth Circuit has squarely held that the “ordinary

 case” analysis applies when construing 18 U.S.C.              §   16(b). United

 States v. Avila,      770 F.3d 1100,        1107 (4th Cir. 2014).       The Fourth

 Circuit stated:

             “fEjvery set of conceivable facts covered by
             first—degree burglary does not have to present
             a serious risk of injury for it to qualify as
             a crime of violence. It is sufficient if ‘the
             conduct encompassed by the elements of the
             offense, in the ordinary case, presents a
             serious potential risk of injury to another.
             James, 550 U.s. at 208, 127 S.Ct. 1586. As long
             as an offense is of a type that, by its nature,
             presents a substantial risk that physical force
             against the person or property of another may
             be used, it satisfies the requirements of 18
             U.S.C. § 16(b).”

Id.   Avila applies because       §   16(b) and    §   924(c)(3)(B) are

identical.      In litigating Johnson,         the Government,     through the

Solicitor General, agreed that the phrases at issue in Johnson

and in both     §   924(c)(3)(B) and     §   16(b) are identical.        The

Solicitor General Stated:

           “Although Section 16 refers to the risk that
            force will be used rather than that injury
            will occur, it is equally susceptible to
            petitioner’s central objection to the
            residual clause. Like the ACCA, Section 16




MEMORANDUM IN SUPPORT      -   Page 13
    Case 1:12-cr-00323-WSD-CMS Document 31-1 Filed 04/11/16 Page 15 of 15




                  requires ~ court to identify the ordinary
                  case of the commission of the offense and
                  to make a commonsense judgment about the
                  risk of confrontation and other violent


Johnson v. United States, S.Ct. No.               13-7120, supplemental Brief

of Respondent United states at 22—23 (available at 2015 WL

 1284964 at *22_*23).             The Solicitor General has agreed that

§   924(c)(3)(3) and the ACCA contain the same flawa.
        Application of the Supreme Court’s analysis and decision

in Johnson to the residual clause of              §   924(c)(3)(B) requires

the same result.           It is unconstitutional and must be struck.

As a result, the Movant’s convictions under               §   924(c) and the

Hobbs Act robbery0 as well as,               the motor vehicle theft

carjacking must be dismissed.

III.       CONCLUSION

        For these reasons, the Movant respectfully requests that

this Court find that his convictions under 18 U.S.C.                 §   924(c),

§   1951    and   §   2119 be vacated, and that he be resentenced.
        RESPECTFULLY submitted this 4~day of               Mo.rcj,
2016.




MEMORANDUM IN SUPPORT         -    Page 14
